

People v Aboa-Ahika (2022 NY Slip Op 05958)





People v Aboa-Ahika


2022 NY Slip Op 05958


Decided on October 25, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 25, 2022

Before: Webber, J.P., Singh, Moulton, González, Pitt, JJ. 


Index No. 99025/16 Appeal No. 16514 Case No. 2018-5828 

[*1]The People of the State of New York, Respondent,
vJean Aboa-Ahika, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Naila S. Siddiqui of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Chamoy of counsel), for respondent.



Order, Supreme Court, Bronx County (Efrain Alvarado, J.), entered on or about October 6, 2017, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant has not shown that his response to sex offender treatment was so exceptional that a downward departure was warranted (see e.g. People v Alcantara, 154 AD3d 532 [1st Dept 2017], lv denied 30 NY3d 908 [2018]; People v Santiago, 137 AD3d 762, 764 [2d Dept 2016], lv denied 27 NY3d 907 [2016]). The other alleged mitigating factors cited by defendant were outweighed by the seriousness of the underlying forcible sex crimes committed repeatedly against his younger half sibling over a period of years (see People v Sincerbeaux, 27 NY3d 683, 690-691 [2016]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 25, 2022








